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                            IN THE UNITED STATES DISTRIC COURTS
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      EL PASO DIVISION       21123               fl             fl

UNITED STATES OF AMERICA                               §                                   (   IL
                                                       §
V                                                      §      CAUSE NO: 2-CR-OOOt-KCT"
                                                       §
APRIL CADENA                                           §

                                       ENTRY OF APPEARANCE

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW, FRANCISCO F. MACLAS, Attorney at Law, 1001 North Campbell, El Paso,

Texas 79902, Telephone No. (915) 544-9047, Fax No. (915) 544-5345, Texas Bar No. 12774450, and

hereby enters his appearance as attorney of record for APRIL CADENA the above named Defendant.

The undersigned defense counsel respectfully requests that a copy of all pleadings and settings in this

case be sent to his office at the addressed listed below.

                                                       Respectfully submitted,




                                                      FRANCISCO F. MAClAS
                                                      Attorney for Defendant
                                                      Texas Bar No.12774450
                                                      1001 North Campbell
                                                      El Paso, Texas 79902
                                                      Telephone No. (915) 544-9047
                                                      Fax No. (915) 544-5345

                                      CERTIFICATE OF SERVICE

        I, FRANCISCO F. MACLAS, do hereby certify that on this IL?      th day of June 2023, a true
and correct copy of the foregoing Entry of Appearance in the above-styled and numbered cause of
action, was to delivered to the United States Attorney's office.




                                                        RANCISCO F. MAClAS
